Case 1:21-cr-00041-JL Document 321-13 Filed 07/17/23 Page 1 of 2
             Case 1:21-cr-00041-JL Document 321-13 Filed 07/17/23 Page 2 of 2


Summary of Deposit Sources
Ian B. Freeman
CIT Bank E‐CHK 4049
Time Period: September 30, 2020 ‐ April 30, 2021
Deposit Source                Count Total Deposited Percentage of Total
B     ,J     H.                   2           $11,900.00   3.23%
C ,K        K.                    6           $39,058.00  10.60%
D and D           A  Trust        1           $45,000.00  12.21%
Etrade                            2                $0.45   0.00%
Freeman, Ian B.                   1              $100.00   0.03%
Interest                          7               $59.40   0.02%
Item Missing                      1           $20,652.28   5.61%
Paypal                            2                $0.27   0.00%
S        ,R     C                 1          $247,385.00  67.14%
T    ,T      T                    1            $4,300.00   1.17%
Grand Total                      24          $368,455.40 100.00%


Summary of Payees
Ian B. Freeman
CIT Bank E‐CHK 4049
Time Period: September 30, 2020 ‐ April 30, 2021
Payee                         Count        Total Paid     Percentage of Total
BC Exchange                       2          ‐$250,000.00       67.85%
Etrade                            1                ‐$0.45        0.00%
Freeman, Ian Bernard              1           ‐$67,307.68       18.27%
K     ,B                          1            ‐$7,000.00        1.90%
Legal Tender Services PLLC        4           ‐$39,147.00       10.62%
Paypal                            2            ‐$5,000.27        1.36%
Grand Total                      11          ‐$368,455.40      100.00%




as of 6/9/2023
